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CAFE SKATES BAN RRUPTCY Cour} SOUTHERN DISTRICT OF FLORIDA
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CHAPTER 13 PLAN (Individual Adjustment of Debts)
C] Original Plan
[m] 2AP

Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
C] Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: Rouchen Lu Sun JOINT DEBTOR: CASE NO.: 23-19555-SMG
SS#: xxx-xx- 7023 SSi#: XXX-XX-
L NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and
modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
To Creditors:

Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph LX. Debtor(s) must check one box
on each line listed below in this section to state whether the plan includes any of the following:

The valuation of a secured claim, set out in Section LLL, which may result in a :
partial payment or no payment at all to the secured creditor L] Included [w] Not included
Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set ‘
out in Section Til [] Included [=] Not included
Nonstandard provisions, set out in Section IX [-] Included [§] Not included

II. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

1. $610.50 formonths 1 to 5 ;
2. $687.50 formonths 6 to 60 ;
B. DEBTOR(S)' ATTORNEY'S FEE: [J NONE [] PRO BONO
Total Fees: $5,275.00 Total Paid: $2,500.00 Balance Due: $2,775.00
Payable $555.00 /month(Months 1 to 5)

Allowed fees under LR 2016-1(B)(2) are itemized below:
credit report

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
TH. TREATMENT OF SECURED CLAIMS [8] NONE

IV. | TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)] _[] NONE

A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: [ii] NONE
B. INTERNAL REVENUE SERVICE: [gm] NONE
C. DOMESTIC SUPPORT OBLIGATION(S): [fm] NONE
D. OTHER: [8] NONE
Vv. TREATMENT OF UNSECURED NONPRIORITY CREDITORS [J NONE
Pay $625.00 /month (Months 6 to 60 )

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

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B. (_] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: [li] NONE
VI. STUDENT LOAN PROGRAM [Bj] NONE

VIL. EXECUTORY CONTRACTS AND UNEXPIRED LEASES [Bi] NONE
VII. INCOME TAX RETURNS AND REFUNDS;

[@] Debtor(s) shall provide copies of yearly income tax returns to the Trustee (but not file with the Court) no later than May
15th during the pendency of the Chapter 13 case. In the event the debtor(s)’ disposable income or tax refunds increase,
debtor(s) shall increase payments to unsecured creditors over and above payments provided through the Plan up to 100% of
allowed unsecured claims. [Broward/Palm Beach cases]

IX. NON-STANDARD PLAN PROVISIONS [gm] NONE

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

Debtor Joint Debtor
Rouchen Lu Sun Date Date

ivitulz3

Date

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Attorney wil pormisdion to sign on
Debtor(s)’ behalf who certifies that
the contents of the plan have been
reviewed and approved by the

Debtor(s). J

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph IX.

I This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)’ attorney authorizing the
attorney to sign documents on the Debtor(s)' behalf.

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